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F.#2002R02710

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UNITED STATES DISTRICT couRtT “T COURT E.D.N.y
EASTERN DISTRICT OF NEW YORK MAR 2 4 2005
Ty eee eee LLL, xX BROOKLYN OFFICE
UNITED STATES OF AMERICA INDICTMent

 

- against - CR 05: 50 D 4
ABRAHAM KAHAN, 1320a~7b (b) 2) (ByY’ 0

U.S.C., §§ 371, year

Defendant. and 3551 et seq.
TT ee x “POH g GERSHON, J
THE GRAND JURY CHARGES: < ELS y i
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INTRODUCTION

At all times relevant to this Indictment:
fhe Insurance Programs

1. Medicare was a United States government health care
Program that provided basic insurance coverage of medical
Services to individuals aged 65 and over and to certain disabled
persons (“Medicare Beneficiaries”). The Health Care Financing
Administration (“HCFA”), an agency of the United States
Department of Health and Human Services (“HHS”), administered the
Medicare program.

2. Oxford Health Plans, Inc, (“Oxford”) was a health
Care benefit program that offered members of the public medical
insurance contracts under which medical benefits, items and

services were provided to individuals. Pursuant to contracts,
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Oxford compensated medical service and equipment providers for
treatments and equipment Provided to insured patients,

3. One of the plans offered by Oxford was the
Medicare+Choice Plan, which was available to Medicare recipients.
Oxford received a monthly premium from the federal government for
each Medicare beneficiary in the Medicare+Choice plan and used
the premiums to develop a healthcare benefit package for Medicare
recipients.

Healthstar and the Defendant ABRAHAM KAHAN

4. Healthstar Industries of New York, Ltd.
(“Healthstar”) was a durable medical equipment (“DME”) supply
company, located in Brooklyn, New York. DME was intended to
assist a person with an illness or an injury and was intended for
repeated use. Wheelchairs, hospital beds, air mattresses and
motorized scooters were examples of DME.

9. The defendant ABRAHAM KAHAN owned and operated
Healthstar.

The Agreement Between Oxford and Healthstar

6. On or about July 9, 1998, the defendant ABRAHAM
KAHAN entered into an agreement, entitled the “Ancillary Provider
Agreement,” with Oxford whereby Healthstar agreed to provide
services and DME to members of Oxford’s healthcare plans,
including Oxford’s MedicaretChoice plan. This agreement remained

in effect until July 9, 2003.
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7. Pursuant to the contract between Healthstar and
Oxford, Oxford agreed to reimburse Healthstar for DME at a rate
of sixty-five percent (65%) of Medicare rates or sixty-five
percent (65%) of the charges billed by Healthstar, whichever was
less. If a Medicare rate did not exist for the DME item, then,
under the contract, Oxford would reimburse Healthstar for Sixty
Percent (60%) of the charges billed by Healthstar.

THE SCHEME TO DEFRAUD

8. It was a part of the scheme and artifice that in or
about and between Fall 1998 and January 2002, the defendant
ABRAHAM KAHAN offered and made payments to two Oxford employees,
whose identities are known to the Grand Jury. In exchange, the
two Oxford employees directed DME business to Healthstar and
obtained authorization to order DME from Healthstar at inflated
prices.

9. It was a further part of the scheme and artifice
that the defendant ABRAHAM KAHAN billed Oxford hundreds of
thousands of dollars for DME that had been authorized by the two
Oxford employees in exchange for the payments. The two Oxford
employees caused Oxford to reimburse Healthstar at the rate of
one hundred percent (100%) of the charges billed, rather than the
reimbursement rates provided under the Ancillary Provider

Agreement.
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COUNT ONE
(Conspiracy to Commit Health Care Fraud)

10. The allegations contained in Paragraphs 1 through
9 are realleged and incorporated as if fully set forth in this
paragraph.

1i. In or about and between Fall 1998 and July 2002,
both dates being approximate and inclusive, within the Eastern
District of New York and elsewhere, the defendant ABRAHAM KAHAN,
together with others, did knowingly and willfully conspire to
execute a scheme and artifice to defraud health care benefit
programs, to wit: Oxford and Medicare, and to obtain, by means of
materially false and fraudulent pretenses, representations and
promises, money and property owned by and under the custody and
control of Oxford and Medicare in connection with the delivery of
and payment for health care benefits, items and services, in
violation of Section 1347 of Title 18 of the United States Code.

12. In furtherance of the conspiracy and to effect its
objectives, within the Eastern District of New York and
elsewhere, the defendant ABRAHAM KAHAN, together with others,
committed and caused to be committed, among others, the
following:

OVERT ACTS

 

a. In or about Fall 1998, the defendant ABRAHAM KAHAN
offered money to an employee of Oxford (“Oxford Employee 1"), an

individual whose identity is known to the Grand Jury.
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b, In or about and between Fall 1998 and March 1999,

the defendant ABRAHAM KAHAN gave money to Oxford Employee 1 on a
monthly basis.

c. In or about March 1999, the defendant ABRAHAM
KAHAN hired Oxford Employee 1 to work at Healthstar, in Brooklyn,
New York, as a sales representative,

d. In or about March 1999, the defendant ABRAHAM KAHAN
directed Oxford Employee 1 to offer money to another employee of
Oxford (“Oxford Employee 2"), an individual whose identity is
known to the Grand Jury.

e. In or about and between January 2000 and January
2002, the defendant ABRAHAM KAHAN gave money to Oxford Employee
2.

f. On or about August 13, 2001, the defendant ABRAHAM
KAHAN caused Healthstar to submit a claim to Oxford for $18,500
for a custom motorized wheelchair.

g- On or about January 14, 2002, the defendant ABRAHAM
KAHAN caused Healthstar to submit a claim to Oxford for $10,800
for a custom wheelchair, $14,900 for an air Mattress and $13,850
for a hospital bed.

(Title 18, United States Code, Sections 371 and 3551 et
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COUNT TWO
(Conspiracy to Offer and Pay Kickbacks)

13. The allegations contained in Paragraphs 1 through
9 are realleged and incorporated as if fully set forth in this
Paragraph.

14, In Or about and between Fall 1998 and July 2002,
both dates being approximate and inclusive, within the Eastern
District of New York and elsewhere, the defendant ABRAHAM KAHAN,
together with others, did knowingly and willfully conspire (a) to
defraud the United States and an agency of the United States, to
wit: HHS, and (b) to offer and pay remunerations, to wit:
kickbacks and bribes, directly and indirectly, overtly and
covertly, in cash and in kind, to other persons, to wit:
employees of Oxford, to induce such persons to purchase, lease
and order, and arrange for and recommend the purchasing, leasing
and ordering of, goods and items, to wit: DME, for which payments
were made in whole and in part under a Federal health care
program, to wit: the Medicare program, in violation of Title 42,
United States Code, Section 1320a-7b(b) (2) (B).

15. In furtherance of the conspiracy and to effect its
objectives, within the Eastern District of New York and
elsewhere, the defendant ABRAHAM KAHAN, together with others,
committed and caused to be committed, among others, the

following:
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OVERT ACTS

 

a, In or about Fall 1998, the defendant ABRAHAM KAHAN
offered money to Oxford Employee 1.

b. In or about and between Fall 1998 and March 1999,
the defendant ABRAHAM KAHAN gave money to Oxford Employee 1 on a
monthly basis.

c. In or about March 1999, the defendant ABRAHAM
KAHAN hired Oxford Employee 1 to work at Healthstar, in Brooklyn,
New York, as a sales representative.

d. In or about March 1999, the defendant ABRAHAM KAHAN
directed Oxford Employee 1 to offer money to Oxford Employee 2.

€. In or about and between January 2000 and January
2002, the defendant ABRAHAM KAHAN gave money to Oxford Employee
2.

f. On or about July 3, 2001, the defendant ABRAHAM
KAHAN caused Healthstar to submit a claim to Oxford for $6,300
for a motorized wheelchair for a patient participating in
Oxford’s Medicare+Choice plan.

g.- On or about February 28, 2002, the defendant
ABRAHAM KAHAN caused Healthstar to submit a claim to Oxford for
$7,760 for a motorized wheelchair for a patient participating in
Oxford’s Medicare+Choice plan.

(Title 18, United States Code, Sections 371 and 3551 et

seq.)
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COUNT THREE
(Health Care Fraud)

16. The allegations contained in paragraphs 1 through
9 are realleged and incorporated as if fully set forth in this
paragraph.

17. In or about and between March 2000 and July 2002,
both dates being approximate and inclusive, within the Eastern
District of New York and elsewhere, the defendant ABRAHAM KAHAN,
together with others, did knowingly and willfully execute and
attempt to execute a scheme and artifice to defraud health care
benefit programs, to wit: Oxford and Medicare, and to obtain, by
means of materially false and fraudulent pretenses,
representations and promises, money and property owned by and
under the custody and control of Oxford and Medicare in
connection with the delivery of and payment for health care
benefits, items and services.

(Title 18, United States Code, Sections 1347, 2 and
3551 et seq.)

COUNT FOUR
(Offering and Paying Kickbacks)

18. The allegations contained in paragraphs 1 through
9 are realleged and incorporated as if fully set forth in this

paragraph.
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“49. In or about and between March 2000 and July
2002, both dates being approximate and inclusive, within the
Eastern District of New York and elsewhere, the defendant ABRAHAM
KAHAN, together with others, did knowingly and willfully offer
and pay remunerations, to wit: kickbacks and bribes, directly and
indirectly, overtly and covertly, in cash and in kind, to other
persons, to wit: employees of Oxford, to induce such persons to
purchase, lease and order, and arrange for and recommend the
purchasing, leasing and ordering of, goods and items, to wit:
DME, for which payments were made in whole and in part under a
Federal health care program, to wit: the Medicare program.

(Title 42, United States Code, Section 1320a-

b{b) (2) (B): Title 18, United States Code, Sections 2 and

 

3551 et seq.)
A TRUE BILL
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ROSLYNN R. MAUSKOPF
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK
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No. 2002R02710_

UNITED STATES DISTRICT COURT

EASTERN District of NEW YORK

_.._€riminal Division

SS... SS
THE UNITED STATES OF AMERICA

VS.
ABRAHAM KAHAN,

Defendant.

 

 

INDICTMENT
(T. 42, U.S.C, Section 1320a-7b(b) (2) (B); T.
18, U.S.C., Sections 371, 1347, 2 and 3551 et seq.)

 

 

 

 

 

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Filed in open court this = | __ day,
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